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  12
  13                       UNITED STATES DISTRICT COURT
  14        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  15
  16 SHAWN CARTER, also known as             Case No. 2:21-cv-04848-PA-KS
     JAY-Z, an individual,
  17                                         PLAINTIFF’S OFFER OF PROOF
                  Plaintiff,                 FOR EXPERT WITNESSES
  18
           v.                                The Honorable Percy Anderson
  19
     JONATHAN MANNION, an                    Trial Date: July 19, 2022
  20 individual, and JONATHAN
     MANNION PHOTOGRAPHY LLC, a
  21 New York limited liability company,
  22               Defendants.
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   1         Pursuant to the Court’s June 6, 2022 Order, Plaintiff submits the following
   2 offer of proof for his expert witnesses: Jon Albert and Megan Mahn Miller. A copy
   3 of Mr. Albert’s expert report, including his CV, is attached as Exhibit A, and a copy
   4 of Ms. Miller’s expert report, including her CV, is attached as Exhibit B.
   5 I.      JON ALBERT’S EXPERT OPINIONS
   6         1.     Had Defendants obtained Plaintiff’s permission to exploit Plaintiff’s
   7 name, image, and likeness (NIL), for the uses Defendants made between June 15,
   8 2019 (the relevant limitations period beginning two years before filing the lawsuit)
   9 and the present, Defendants would have had to: (a) pay Plaintiff between $5 million
  10 and $15 million as a guarantee against a percentage of gross revenue (ranging from
  11 5 to 20 percent), and (b) give Plaintiff approval rights and other controls over
  12 Defendants’ use of those images. (Albert Report [Ex. A] ¶ 31.) The midpoint of the
  13 two ranges—$10 million as a guarantee against 12.5 percent of gross revenue is a
  14 reasonable estimate of what Defendants would have had to pay Plaintiff for those
  15 rights. (Id. ¶ 31.)
  16         The basis for this opinion is described in Mr. Albert’s report and includes:
  17 (a) his experience in negotiating and obtaining price “quotes” for hundreds of
  18 transactions every year for the use of similar rights for similar entertainment,
  19 merchandising, and advertising uses (id. ¶ 6), (b) his examination of the details and
  20 extent of Defendants’ use of Plaintiff’s NIL (id. ¶ 7), (c) agreements pursuant to
  21 which Plaintiff granted the right to use his NIL to third parties (id. ¶ 7),
  22 (d) agreements under which other celebrities granted third parties the right to use
  23 their NIL (id. ¶¶ 27-29), and (e) deposition testimony and documents from this case.
  24 (Id. ¶ 8.)
  25         This opinion is relevant to Plaintiff’s damages because “the standard for
  26 measuring lost profits in a right of publicity case is the fair market value of the right
  27 to use plaintiff’s name or likeness in the manner in which it was used by defendant.”
  28 Clark v. Am. Online Inc., 2000 WL 33535712, at *8 (C.D. Cal. Nov. 30, 2000).

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   1 “The use of [a] willing licensor-willing licensee framework is … ‘the standard for
   2 measuring lost profits in a right of publicity case.’” Ferriss v. All. Publ’g, Inc.,
   3 2016 WL 7116110, at *10 (N.D. Cal. Dec. 6, 2016).
   4         Mr. Albert relied on the following documents:
   5         (a)   First Amended Complaint. (Exhibit C [JX-24].)
   6         (b)   May 11, 2021 email from Mannion to Leonard Santiago . (Exhibit D
   7 [JX-28].)
   8         (c)   Mannion’s June 28, 2016 Instagram post. (Exhibit E [JX-56].)
   9         (d)   Mannion’s July 7, 2016 Instagram post. (Exhibit F [JX-57].)
  10         (e)   Excel spreadsheets. (Exhibit G [JX-60], H [JX-62], I [JX-63], J [JX-
  11 64].)
  12         (f)   June 11, 2021 text messages between Uri Davidov and Mannion.
  13 (Exhibit K [JX-87].)
  14         (g)   Mannion’s Instagram page. (Exhibit L [JX-99].)
  15         (h)   Mannion’s November 15. 2018 Instagram post. (Exhibit M [JX-100].)
  16         (i)   Mannion’s June 10, 2016 Instagram post. (Exhibit N [JX-101].)
  17         (j)   May 10, 2021 text messages between Leonard Santiago and Mannion.
  18 (Exhibit O [JX-105].)
  19         (k)   Defendants’ Responses to Plaintiff’s First Set of Interrogatories.
  20 (Exhibit P [JX-159].)
  21         (l)   Defendants’ Responses to Plaintiff’s Second Set of Interrogatories.
  22 (Exhibit Q [JX-161].)
  23         (m)   June 8, 2021 Tiffany & Co. Talent Agreement with between Tiffany &
  24 Co. and SC Branding, LLC. (Exhibit R [JX-189].)
  25         (n)   May 1, 2019 Brand Strategist Agreement between CMG Partners, Inc.
  26 and SC Branding, LLC. (Exhibit S [JX-190].)
  27         (o)   November 1, 2020 Creative Services Agreement between PUMA SE
  28 and SC Branding, LLC. (Exhibit T [JX-191].)

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   1          (p)   May 21, 2021 Email from Uri Davidov to Sarah Hsia re Use of Jay-Z
   2 Photograph. (Exhibit U [JX-204].)
   3          (q)   June 12, 2021 Email from D. Perez to U. Davidov re Reasonable Doubt
   4 Shoot. (Exhibit V [JX-205].)
   5          (r)   June 13, 2021 Email from L. Santiago to S. Hsia re CONFIDENTIAL
   6 WORK PRODUCT. (Exhibit W [JX-207].)
   7          (s)   Relevant excerpts from the deposition transcript for Uri Davidov.
   8 (Exhibit X.)
   9          (t)   Relevant excerpts from the deposition transcript for Marjoriet Matute.
  10 (Exhibit Y.)
  11 II.      MEGAN MAHN MILLER’S OPINIONS
  12          1.    The marketability and economic value of the photographs of Plaintiff at
  13 issue derive primarily from his fame and celebrity. (Mahn Miller Report [Ex. B]
  14 ¶ 15.)
  15          This opinion is relevant to Defendants’ First Amendment “transformative
  16 use” defense. See, e.g., In re NCAA Student-Athlete Name & Likeness Licensing
  17 Litig., 724 F.3d 1268, 1274 (9th Cir. 2013) (one of “five factors to consider in
  18 determining whether a work is sufficiently transformative to obtain First
  19 Amendment protection” is “whether ‘the marketability and economic value of the
  20 challenged work derive primarily from the fame of the celebrity depicted’”).
  21          The basis for this opinion is described in Ms. Mahn Miller’s report and
  22 includes: (a) her 16 years of experience in appraising thousands of pieces of
  23 personal property, including archives full of celebrity photographs (Mahn Miller
  24 Report [Ex. B] ¶ 1), (b) her review of Defendants’ online store (id. ¶ 5), (c) her
  25 review of the photographs at issues (id.), (d) her review of sales records produced by
  26 Defendants (id. ¶¶ 7, 21), (e) her investigation into markets where Mr. Mannion’s
  27 photographic prints are sold (id. ¶¶ 8-11), (f) her knowledge and experience
  28 regarding “open edition” and “limited edition” prints (id. ¶¶ 12-14), (g) her

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   1 knowledge and experience regarding persons considered to be “fine art”
   2 photographers (id. ¶ 23), and (h) her investigation into the prices at which
   3 photographic prints from photographers considered to be “fine art” photographers
   4 have sold. (Id. ¶¶ 24-25.)
   5         Ms. Mahn Miller relied on the following documents:
   6         (a)   Exhibit Z is intentionally omitted.
   7         (b)   Excel spreadsheets. (Exhibit G [JX-60], H [JX-62], I [JX-63], J [JX-
   8 64].)
   9         (c)   Sketch produced by Defendants. (Exhibit AA [JX-96.)
  10         (d)   Jay Z “Chess Not Checkers” photograph. (Exhibit BB [JX-98].)
  11         (e)   Defendants’ Responses to Plaintiff’s Second Set of Interrogatories.
  12 (Exhibit Q [JX-161].)
  13         (f)   BET July 11, 2016 article, “20 Years Later: Behind the Lens of Jay Z’s
  14 ‘Reasonable Doubt.’” (Exhibit CC [JX-164].)
  15         (g)   Jay-Z “New Blue Yankee” Print. (Exhibit DD [JX-226].)
  16         (h)   Jay-Z Print. (Exhibit EE [JX-227].)
  17         2.    Jonathan Mannion has not risen to the level of renown to where
  18 members of the public purchase prints of photographs he has taken because he was
  19 the photographer. (Id. ¶ 23.)
  20         This opinion is relevant to Defendants’ First Amendment “transformative
  21 use” defense. See, e.g., Comedy III Prods., 25 Cal. 4th at 407 (“When the value of
  22 the work comes principally from some source other than the fame of the celebrity—
  23 from the creativity, skill, and reputation of the artist—it may be presumed that
  24 sufficient transformative elements are present to warrant First Amendment
  25 protection.”).
  26         The basis for this opinion is described in Ms. Mahn Miller’s report and
  27 includes: (a) her 16 years of experience in appraising thousands of pieces of
  28 personal property, including archives full of celebrity photographs (Mahn Miller

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   1 Report [Ex. B] ¶ 1), (b) her review of sales records produced by Defendants (id.
   2 ¶¶ 7, 21), her investigation into markets where Mr. Mannion’s photographic prints
   3 are sold (id. ¶¶ 8-11), her knowledge and experience regarding persons considered
   4 to be “fine art” photographers (id. ¶ 23), her investigation into the prices at which
   5 photographic prints from photographers considered to be “fine art” photographers
   6 have sold (id. ¶¶ 24-25).
   7        The documents on which Ms. Mahn Miller relied for this opinion are the
   8 same ones identified above for her first opinion.
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  11 DATED: June 14, 2022                   QUINN EMANUEL URQUHART
                                                & SULLIVAN, LLP
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  13
                                            By /s/ Robert M. Schwartz
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